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                 EXHIBIT A
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                ‫תק‪ð‬ות סדר הדין האזרחי‪ ,‬תשע"ט‪ð ,2018-‬וסח עדכ‪ð‬י ‪ð‬כון ליום ‪09.12.2024‬‬


                          ‫תק‪ð‬ות סדר הדין האזרחי‪ ,‬תשע"ט‪2018-‬‬
                                        ‫]‪[...‬‬
                                                                                                          ‫טע‪ð‬ות חוסר‬
                                                                                                        ‫סמכות‪ ,‬ת‪ð‬יית‬
‫בעל דין רשאי להמציא כתב טע‪ð‬ות מחוץ לתחום המדי‪ð‬ה בהתקיים אחד מאלה ובכפוף לתק‪ð‬ות‬               ‫‪.166‬‬   ‫שיפוט זר או פורום‬
                                                                               ‫‪ 167‬ו‪:168-‬‬                  ‫בלתי ‪ð‬אות‬
‫‪ð‬קבע בחיקוק שמבחי‪ð‬ה בין‪-‬לאומית בית משפט בישראל מוסמך לדון בהליך פלו‪ð‬י או‬               ‫)‪(1‬‬               ‫המצאה מחוץ‬
                                          ‫אם הוסכם בין בעלי הדין על סמכות כאמור;‬                       ‫לתחום המדי‪ð‬ה‬
                           ‫מבוקש סעד ‪ð‬גד אדם שמקום מושבו הוא בתחום המדי‪ð‬ה;‬             ‫)‪(2‬‬
                              ‫‪ð‬ושא התובע‪ð‬ה הוא מקרקעין המצויים בתחום המדי‪ð‬ה;‬           ‫)‪(3‬‬
                         ‫התובע‪ð‬ה היא בקשר לחוזה‪ ,‬ומתקיים אחד מהמקרים האלה‪:‬‬             ‫)‪(4‬‬
‫החוזה‪ ,‬כולו או מקצתו‪ð ,‬עשה או הופר בתחום המדי‪ð‬ה או ש‪ð‬שללה האפשרות‬             ‫)א(‬
                                                           ‫לקיימו בתחומה;‬
                                          ‫על החוזה חלים די‪ð‬י מדי‪ð‬ת ישראל;‬      ‫)ב(‬
                   ‫)‪4‬א( התובע‪ð‬ה מבוססת על מעשה או על מחדל שאירע בתחום המדי‪ð‬ה;‬
‫התובע‪ð‬ה מבוססת על ‪ð‬זק ש‪ð‬גרם לתובע בישראל ממוצר‪ ,‬משירות או מהת‪ð‬הגות של‬                  ‫)‪(5‬‬
‫ה‪ð‬תבע‪ ,‬ובלבד שה‪ð‬תבע יכול היה לצפות שה‪ð‬זק ייגרם בישראל וכן ושה‪ð‬תבע‪ ,‬או אדם‬
‫קשור לו‪ ,‬עוסק בסחר בין‪-‬לאומי או במתן שירותים בין‪-‬לאומיים בהיקף משמעותי;‬
                    ‫לע‪ð‬יין זה‪" ,‬אדם קשור" – אם ה‪ð‬תבע הוא תאגיד‪ ,‬כל אחד מאלה‪:‬‬
                                                      ‫אדם השולט בתאגיד;‬        ‫)‪(1‬‬
                                 ‫תאגיד ה‪ð‬שלט בידי אדם כאמור בפסקה )‪;(1‬‬         ‫)‪(2‬‬
                      ‫תאגיד ה‪ð‬שלט בידי מי מהאמורים בפסקאות )‪ (1‬ו‪;(2)-‬‬          ‫)‪(3‬‬
‫מבוקש צו מ‪ð‬יעה לגבי דבר ה‪ð‬עשה או עומד להיעשות בתחום המדי‪ð‬ה‪ ,‬או מבוקש‬                   ‫)‪(6‬‬
‫למ‪ð‬וע או להסיר מטרד בתחום המדי‪ð‬ה‪ ,‬בין אם מבוקשים דמי ‪ð‬זק בקשר לכך ובין אם‬
                                                                             ‫לאו;‬
‫מבוקש לאכוף פסק‪-‬חוץ‪ ,‬כהגדרתו בחוק אכיפת פסקי‪-‬חוץ‪ ,‬או פסק בוררות חוץ‬                    ‫)‪(7‬‬
                                       ‫כהגדרתו בחוק הבוררות או מבוקש להכיר בהם;‬
‫מבוקש שלא לאכוף פסק בוררות חוץ‪ ,‬כהגדרתו בחוק הבוררות‪ ,‬ש‪ð‬יתן ‪ð‬גד תושב‬                   ‫)‪(8‬‬
‫ישראל‪ ,‬אם שוכ‪ð‬ע בית המשפט כי אין למבקש אפשרות לזכות בדין צדק בבית המשפט‬
                                                       ‫של המדי‪ð‬ה שבה ‪ð‬יתן הפסק;‬
‫האדם שמחוץ לתחום המדי‪ð‬ה הוא בעל דין דרוש או ‪ð‬כון בתביעה שהוגשה כהלכה ‪ð‬גד‬               ‫)‪(9‬‬
                                                                        ‫אדם אחר;‬
‫)‪ (10‬האדם שמחוץ לתחום המדי‪ð‬ה הוא בעל דין בתובע‪ð‬ה שלגבי אחת מעילותיה באותה‬
                                  ‫תובע‪ð‬ה ‪ð‬גדו יש זיקה מהזיקות המפורטות בתק‪ð‬ה זו‪.‬‬
‫בעל דין המעו‪ð‬יין להמציא כתב טע‪ð‬ות מחוץ לתחום המדי‪ð‬ה‪ ,‬יגיש בקשה בכתב לשם‬                ‫)א(‬   ‫‪.167‬‬      ‫הליך ההמצאה‬
‫קביעת דרך ביצוע ההמצאה; בתצהיר התומך בבקשה יפורטו העובדות המבססות את‬                                    ‫מחוץ למדי‪ð‬ה‬
‫עילת התביעה‪ ,‬העובדות המבססות את עילת ההמצאה מחוץ לתחום המדי‪ð‬ה ופירוט‬
                                            ‫המקום שבו ‪ð‬מצא ה‪ð‬מען או ייתכן ש‪ð‬מצא‪.‬‬
‫בית המשפט יורה על דרך ביצוע ההמצאה‪ ,‬לרבות הגשת כתבי הטע‪ð‬ות‪ ,‬והוא רשאי‬                  ‫)ב(‬
           ‫להורות שב‪ð‬סיבות הע‪ð‬יין אין להמציא את המסמכים מחוץ לתחום המדי‪ð‬ה‪.‬‬
‫הומצא לבעל דין כתב טע‪ð‬ות מחוץ לתחום המדי‪ð‬ה‪ ,‬רשאי הוא לכפור בסמכות בית המשפט‬                  ‫‪.168‬‬      ‫בקשה לכפירה‬
‫לדון בתובע‪ð‬ה או לטעון כי הפורום הישראלי אי‪ð‬ו הפורום ה‪ð‬אות לדון בתובע‪ð‬ה; רצה ה‪ð‬תבע‬                       ‫בסמכות מכוח‬
‫לכפור או לטעון כאמור‪ ,‬יגיש בקשה בכתב לא יאוחר מהמועד הקבוע להגשת כתב ההג‪ð‬ה; עשה‬                         ‫המצאה מחוץ‬
                                    ‫כן‪ ,‬יימ‪ð‬ה המועד להגשת כתב הג‪ð‬ה מיום ההחלטה בבקשה‪.‬‬                  ‫לתחום המדי‪ð‬ה‬

‫כפר ה‪ð‬תבע בסמכותו הבין‪-‬לאומית של בית המשפט‪ ,‬טען להיותו של הפורום הישראלי פורום‬               ‫‪.169‬‬      ‫המצאה ל‪ð‬תבע‬
‫בלתי ‪ð‬אות או מי‪ð‬ה עורך דין בישראל לשם כך‪ ,‬לא יהיה ‪ð‬יתן להמציא לו את כתבי הטע‪ð‬ות‬                        ‫שכפר בסמכות‬
‫בתחום המדי‪ð‬ה‪ ,‬אם הגיע לישראל והוא שוהה בה לצורך הדיון; כמו כן לא יהיה ‪ð‬יתן להמציא‬
                                                ‫‪1‬‬
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‫לעורך הדין המייצג אותו‪ ,‬ולא יראו בכל פעולה שלו או של עורך די‪ð‬ו ויתור על הכפירה‬
‫בסמכותו הבין‪-‬לאומית של בית המשפט‪ ,‬זאת עד ארבעה עשר ימים לאחר מתן החלטה בטע‪ð‬ות‬
                ‫ה‪ð‬תבע בע‪ð‬יין זה‪ ,‬או מועד אחר כפי שיורה בית המשפט בעת מתן ההחלטה‪.‬‬




                                              ‫‪2‬‬
